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Your item was delivered at 8:43 am on January 14, 2011 in MELVILLE,
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Track & Confirm by email
Get current event information or updates for your item Sent tc you or others by email. Ge»

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